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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES, ex rel.,                       :
     Peter Rothschild, M.D., et al.,          :      Judge Susan J. Dlott
                                              :
               Plaintiff,                     :      Case No. 1:17-cv-720
                                              :
       v.                                     :
                                              :
PROSCAN IMAGING, LLC, et al.,                 :
                                              :
               Defendants.                    :

                                       [Proposed] ORDER

       Upon consideration of the Relator’s Notice of Dismissal, filed pursuant to Rule 41(a) of

the Federal Rules of Civil Procedure and the qui tam provisions of the False Claims Act, 31 U.S.C.

§ 3730(b)(1), the United States’ Notice of Consent to the proposed dismissal, it is hereby

       ORDERED that Relator’s Complaint and all claims raised by Relator in this action are

dismissed without prejudice to the United States and Relator; and

       FURTHER ORDERED that all contents of the Court file in this action currently under

seal shall remain under seal and shall not be made public.




                              UNITED STATES DISTRICT JUDGE
